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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    Desolation Holdings LLC, et al.,1                        Case No. 23-10597

             Debtors.                                        (Jointly Administered)

                                                             Ref. Docket No. 8


           SECOND INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A)
     CONTINUE TO OPERATE THEIR CASH MANAGEMENT SYSTEM, (B) HONOR
       CERTAIN PRE-PETITION OBLIGATIONS RELATED THERETO, AND (C)
     CONTINUE TO PERFORM INTERCOMPANY TRANSACTIONS, (II) GRANTING
     SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS TO POST-PETITION
       INTERCOMPANY BALANCES, AND (III) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”) and final order

(the “Final Order”): (a) authorizing, but not directing, the Debtors to (i) continue to operate their

cash management system (the “Cash Management System”); (ii) honor certain pre-petition

obligations related thereto; and (iii) continue to perform Intercompany Transactions consistent

with historical practice; (b) granting superpriority administrative expense status to post-petition

intercompany balances; and (c) scheduling a final hearing to consider approval of the Motion on a

final basis, all as more fully set forth in the Motion; and upon the First Day Declaration; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, entered

February 29, 2012; and that this Court having the power to enter a final order consistent with


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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
      number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
      Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200,
      Seattle, WA 98104.
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        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this matter being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found

that proper and adequate notice of the Motion and the relief requested therein has been provided

in accordance with the Bankruptcy Rules and the Local Rules, and that, except as otherwise

ordered herein, no other or further notice is necessary; and objections (if any) to the Motion having

been withdrawn, resolved or overruled on the merits; and a hearing having been held to consider

the relief requested in the Motion and upon the record of the hearing and all of the proceedings

had before this Court; and that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor;

       IT IS HEREBY ORDERED THAT

       1.      The Motion is granted on a further interim basis as set forth herein.

       2.      A final hearing with respect to the Motion shall be held, if required, on or before

June 30, 2023.

       3.      The Debtors are authorized, on an interim basis and in their sole discretion, to: (a)

continue operating the Cash Management System, substantially as illustrated on Exhibit 1 attached

hereto; (b) honor their pre-petition obligations related thereto; and (c) continue to perform

Intercompany Transactions consistent with historical practice.

       4.      The Debtors are authorized, on an interim basis and in their sole discretion, to: (a)

continue to use, with the same account numbers, the Bank Accounts in existence as of the Petition

Date, including those Bank Accounts identified on Exhibit 2 attached hereto; (b) treat the Bank

Accounts for all purposes as accounts of the Debtors as debtors in possession; (c) deposit funds in




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and withdraw funds from the Bank Accounts by all usual means, including checks, wire transfers,

and other debits; (d) pay all pre-petition Bank Fees; and (e) pay any ordinary course Bank Fees

incurred in connection with the Bank Accounts, irrespective of whether such fees arose prior to

the Petition Date, and to otherwise perform their obligations under the documents governing the

Bank Accounts.

       5.      The Debtors are authorized, but not directed, to continue using, in their present

form, the Business Forms, as well as checks and other documents related to the Bank Accounts

existing immediately before the Petition Date, without reference to the Debtors’ status as debtors

in possession; provided that once the Debtors have exhausted their existing stock of Business

Forms, the Debtors shall ensure that any new Business Forms are clearly labeled “Debtor-In-

Possession”; provided, further, with respect to any Business Forms that exist or are generated

electronically, to the extent reasonably practicable, the Debtors shall ensure that such electronic

Business Forms are clearly labeled “Debtor-In-Possession.”

       6.      The Banks at which the Bank Accounts are maintained are authorized to continue

to maintain, service, and administer the Bank Accounts as accounts of the Debtors as debtors in

possession without interruption and in the ordinary course, and to receive, process, honor, and pay,

to the extent of available funds, any and all checks, drafts, wires, and ACH transfers issued and

drawn on the Bank Accounts after the Petition Date by the holders or makers thereof, as the case

may be.

       7.      All Banks provided with notice of this Interim Order maintaining any of the Bank

Accounts shall not honor or pay any bank payments drawn on the listed Bank Accounts, or

otherwise issued before the Petition Date, absent further direction from the Debtors.




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       8.        The Debtors will maintain records in the ordinary course reflecting transfers of

cash, if any, including Intercompany Transactions, so as to permit all such transactions to be

ascertainable.

       9.        In the course of providing cash management services to the Debtors, the Banks at

which the Bank Accounts are maintained are authorized, without further order of the Court, to

deduct the applicable fees and expenses associated with the nature of the deposit and cash

management services rendered to the Debtors, whether arising pre-petition or post-petition, from

the appropriate accounts of the Debtors, and further, to charge back to, and take and apply reserves

from, the appropriate accounts of the Debtors any amounts resulting from returned checks or other

returned items, including returned items that result from ACH transactions, wire transfers,

merchant services transactions or other electronic transfers of any kind, regardless of whether such

items were deposited or transferred pre-petition or post-petition and regardless of whether the

returned items relate to pre-petition or post-petition items or transfers.

       10.       Each Bank is authorized to debit the Debtors’ accounts in the ordinary course of

business without the need for further order of the Court for: (a) all checks drawn on the Debtors’

accounts which are cashed at such Bank’s counters or exchanged for cashier’s checks by the payees

thereof prior to the Petition Date; (b) all checks or other items deposited in one of the Debtors’

accounts with such Bank prior to the Petition Date which have been dishonored or returned unpaid

for any reason, together with any fees and costs in connection therewith, to the same extent the

Debtors were responsible for such items prior to the Petition Date; (c) all undisputed pre-petition

amounts outstanding as of the date hereof, if any, owed to any Bank as service charges for the

maintenance of the Cash Management System; and (d) all reversals, returns, refunds, and

chargebacks of checks, deposited items, and other debits credited to Debtor’s account after the




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Petition Date, regardless of the reason such item is returned or reversed (including, without

limitation, for insufficient funds or a consumer’s statutory right to reverse a charge).

          11.   The Debtors are authorized to open any new bank accounts or close any existing

Bank Accounts as they may deem necessary and appropriate in their sole discretion; provided that

in the event the Debtors open a new bank account they shall open one at an authorized depository

and shall timely indicate the opening of such account on the Debtors’ monthly operating report

and shall provide five (5) days advance notice of the opening of any new bank accounts or closing

of any Bank Account to the U.S. Trustee.

          12.   Each of the Banks may rely on the representations of the Debtors with respect to

whether any check or other payment order drawn or issued by the Debtors prior to the Petition

Date should be honored pursuant to this or any other order of the Court, and such Bank shall not

have any liability to any party for relying on such representations by the Debtors as provided for

herein.

          13.   Those agreements existing between the Debtors and the Banks shall continue to

govern the post-petition cash management relationship between the Debtors and the Banks, subject

to applicable bankruptcy or other law, all of the provisions of such agreements, including the

termination, fee provisions, rights, benefits, offset rights and remedies afforded under such

agreements shall remain in full force and effect absent further order of the Court or, with respect

to any such agreement with any Bank (including, for the avoidance of doubt, any rights of a Bank

to use funds from the Bank Accounts to remedy any overdraft of another Bank Account to the

extent permitted under the applicable deposit agreement), unless the Debtors and such Bank agree

otherwise, and any other legal rights and remedies afforded to the Banks under applicable law shall

be preserved, subject to applicable bankruptcy law.




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       14.     The requirement to establish separate bank accounts for cash collateral and/or tax

payments is hereby waived.

       15.     Notwithstanding anything to the contrary set forth herein, the Debtors are

authorized, but not directed, to continue Intercompany Transactions arising from or related to the

operation of their businesses in the ordinary course; provided that each Debtor shall: (a) continue

to pay its own obligations consistent with such Debtor’s past practice with respect to Intercompany

Transactions and related obligations, and in no event shall any of the Debtors pay for the pre-

petition or post-petition obligations incurred or owed by any of the other Debtors in a manner

inconsistent with past practices; and (b) beginning on the Petition Date, maintain (i) current records

of intercompany balances; (ii) a Debtor by Debtor summary on a monthly basis of any post-petition

Intercompany Transactions involving the transfer of cash for the preceding month (to be available

on the 21st day of the following month); and (iii) reasonable access to the Debtors’ advisors with

respect to such records.

       16.     Notwithstanding the Debtors’ use of a consolidated Cash Management System, the

Debtors shall calculate quarterly fees under 28 U.S.C. § 1930(a)(6) based on the disbursements of

each Debtor, regardless of which entity pays those disbursements.

       17.     Those certain existing deposit and service agreements between the Debtors and the

Banks shall continue to govern the post-petition cash management relationship between the Debtor

and the Banks, and that all of the provisions of such agreements, including, without limitation, the

termination, chargeback, and fee provisions, shall remain in full force and effect.

       18.     The Debtors and the Banks may, without further order of the Court, agree to and

implement changes to the Cash Management System and procedures in the ordinary course of

business, including, without limitation, the opening and closing of bank accounts; provided that in




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the event the Debtors open a new bank account they shall open one at an authorized depository;

provided, further, that the Debtors shall give five (5) days’ notice of the opening of any new bank

accounts or closing of any Bank Account to the U.S. Trustee.

       19.     The Debtors are authorized to issue post-petition checks, or to effect post-petition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to pre-petition amounts owed in connection

with any Bank Fees.

       20.     Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity of any particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute

any particular claim on any grounds; (c) a promise or requirement to pay any particular claim; (d)

an implication or admission that any particular claim is of a type specified or defined in this Interim

Order or the Motion; (e) a request or authorization to assume any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’ rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors that

any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to the Motion are

valid, and the Debtors expressly reserve their rights to contest the extent, validity, or perfection or

seek avoidance of all such liens. Any payment made pursuant to this Interim Order is not intended

and should not be construed as an admission as the validity of any particular claim or a waiver of

the Debtors’ rights to subsequently dispute such claim.

       21.     The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the pre-petition obligations approved herein are authorized

and directed to receive, process, honor, and pay all such checks and electronic payment requests




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when presented for payment, and all such banks and financial institutions are authorized to rely on

the Debtors’ designation of any particular check or electronic payment request as approved by this

Interim Order.

        22.      Nothing in this Interim Order shall modify or impair the ability of any party in

interest to contest how the Debtors account, including, without limitation, the validity or amount

set forth in such accounting for any Intercompany Transaction or Intercompany Balance. The

rights of all parties in interest with the respect thereto are fully preserved.

        23.      Notwithstanding any language to the contrary in the Motion or this Order, or any

findings announced at the hearing, no provision of the Motion, this Order, or announced at the

hearing constitutes a finding as to whether the Prepetition or Postpetition Cash Management

System complies with federal or state securities laws.

        24.      Notwithstanding anything to the contrary in the Motion, this Order, or any findings

announced at the hearing, nothing in the Motion, this Order, or announced at the hearing constitutes

a finding under the federal securities laws as to whether crypto assets or transactions involving

crypto assets are securities.

        25.      The Debtors shall have until June 30, 2023 to either come into compliance with

section 345(b) of the Bankruptcy Code, or obtain a further or final extension from this Court.

        26.      As soon as practicable after entry of this Interim Order, the Debtors shall serve a

copy of this Interim Order on the Banks.

        27.      The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

        28.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.




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       29.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       30.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       31.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.

       32.     For banks at which the Debtors hold accounts that are not party to a Uniform

Depository Agreement with the U.S. Trustee, the Debtors shall use their good-faith efforts to cause

the banks to execute a Uniform Depository agreement in a form prescribed by the U.S. Trustee by

June 30, 2023. The U.S. Trustee's rights to seek further relief from this Court on notice in the event

that the aforementioned banks are unwilling to execute a Uniform Depository Agreement in a form

prescribed by the U.S. Trustee are fully reserved.

       33.     The Debtors shall maintain accurate and detailed records of all transfers, including

but not limited to, intercompany transfers, so that all transactions may be readily ascertained,

traced, recorded properly and distinguished between prepetition and post-petition transactions.




 Dated: June 7th, 2023                        BRENDAN L. SHANNON
 Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE




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